 Case 1:24-cv-00961-TAM Document 8-1 Filed 02/09/24 Page 1 of 1 PageID #: 39



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
ABRAHAM GUILLERMO ROMERO DIAZ and                                      :
ROSA TERESA CANASTUJ, on behalf of                                     :
themselves and all others similarly situated,                          :   No. 24 Civ. 961 (TAM)
                                                                       :
                                      Plaintiffs,                      :
                                                                       :
                   -against-                                           :
                                                                       :   RIDER TO SUMMONS
DELUCA’S ITALIAN RESTAURANT, INC. d/b/a :
DELUCA’S ITALIAN RESTAURANT, MASSERIA :
DELUCA’S, INC. d/b/a DELUCA’S TRATTORIA, :
and ROBERT DELUCA,                                                     :
                                                                       :
                                      Defendants.                      :
---------------------------------------------------------------------- X

Defendants’ Names and Addresses:

1. Masseria Deluca’s, Inc. d/b/a Deluca’s Trattoria
   616 Forest Avenue
   Staten Island, New York 10310

2. Robert Deluca
   c/o Deluca’s Italian Restaurant, Inc. d/b/a Deluca’s Italian Restaurant
   7324 Amboy Road
   Staten Island, New York 10307
